                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 TANJA BENTON,                                   )
                                                 )
         Plaintiff,                              )
                                                 )
 v.                                              )       No. 1:22-cv-00118-CEA-SKL
                                                 )
 BLUECROSS BLUESHIELD OF                         )
 TENNESSEE, INC.,                                )
                                                 )
         Defendant.                              )


                               MOTION TO COMPEL DISCOVERY

         Comes Plaintiff, pursuant to Rule 37(a)(3)(A)-(B) of the Federal Rules of Civil Procedure,

 and requests an Order compelling Defendant to make proper initial disclosures under Rule 26(a)(1),

 to provide a sworn verification for interrogatories, and to produce relevant documents. Pursuant to

 Rule 37(a)(5), Plaintiff seeks attorney fees incurred in the filing of this motion.

         The undersigned counsel for Plaintiff certifies that he has in good faith conferred with

 counsel for Defendant on multiple occasions in an attempt to secure the requested discovery

 information prior to seeking this Court’s intervention. Plaintiff invites the Court to review her

 supporting memorandum of law, which is being filed contemporaneously herewith.

                                                 Respectfully submitted,

                                                 MIKEL & HAMILL PLLC

                                                 By:     s/ Doug S. Hamill
                                                         Doug S. Hamill, BPR No. 022825
                                                         Attorney for Plaintiff
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 21st day of November, 2022, a copy of the foregoing document
 was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. All other parties will be served
 by regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

                                                 By:     s/ Doug S. Hamill




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